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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  BMG RIGHTS MANAGEMENT (US) LLC,
  et al.,
                Plaintiffs,
                                                     Civil No. 1:14-cv-1611 (LO/JFA)
                 v.

  COX COMMUNICATIONS, INC, et al.,

                         Defendants.

       MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
    IN LIMINE TO PRECLUDE EVIDENCE AND TESTIMONY AS TO CERTAIN
        INTERNAL COX EMAILS AND COMMUNICATIONS CONCERNING
  COX’S TERMINATION POLICIES AND TREATMENT OF ALLEGED INFRINGERS

 I.     INTRODUCTION

        Pursuant to Fed. R. Evid. 402 and 403, Cox respectfully moves in limine to preclude Plain-

 tiff from introducing certain emails that lack relevance to the issues remaining before the Court on

 remand. Under the Fourth Circuit’s decision, to hold Cox liable for contributory infringement of

 its copyrights, BMG must show that Cox had either actual knowledge of, or willfully blinded itself

 to, specific instances of infringement of BMG’s works. Many of the emails or communications

 that BMG introduced during the first trial are irrelevant to this inquiry, however, and also to any

 other remaining issues, such as willfulness. Moreover, to the extent that these emails retain any

 evidentiary value, it is substantially outweighed by a danger of unfair prejudice, confusing the jury,

 or needlessly presenting cumulative evidence.

        The Fourth Circuit has now clarified the legal standards for knowledge and willful blind-

 ness to focus the inquiry on “specific instances of infringement.” 881 F.3d 293, 311 (4th Cir. 2018)

 (BMG must show “that Cox knew of specific instances of infringement” of the BMG works at

 issue, “or was willfully blind to such instances”); id. at 312 (showing willful blindness requires


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 proof “that Cox consciously avoided learning about specific instances of infringement”). The court

 expressly rejected the prospect of contributory liability if Cox “only generally kn[ew] of infringe-

 ment.” Id. at 311; see id. (“Selling a product with both lawful and unlawful uses suggests an intent

 to cause infringement only if the seller knows of specific instances of infringement, but not if the

 seller only generally knows of infringement.”) (emphases in original); accord id. at 311-12 (“[T]he

 jury [in the first trial] could have found that Cox knew of ‘direct infringement of BMG’s copy-

 righted works’ by its subscribers if Cox had data showing that some number of its subscribers were

 infringing BMG’s copyrights, even if the data did not show which ones were infringing.”). As the

 court put it, such “generalized knowledge does not reflect an intent to cause infringement, because

 it is not knowledge that infringement is substantially certain to result from Cox’s continued provi-

 sion of Internet access to particular subscribers.” Id. at 311.

        None of the emails at issue, however, concerns any BMG work at issue, so none is relevant

 to actual knowledge. Nor are any of the emails at issue relevant to any deliberate action Cox took

 that could have willfully blinded it to specific instances of infringement of any works at issue here.

 And to show that Cox was willfully blind to specific instances of infringement, BMG must show

 that (1) Cox “subjectively believe[d] that there [wa]s a high probability that [relevant specific acts

 of infringement]” were occurring, and (2) Cox “[took] deliberate actions to avoid learning of that

 fact.” Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011). The emails are not

 relevant to “specific instances of infringement” under that standard either.

        Accordingly, Cox respectfully ask the Court to preclude BMG from offering into evidence

 certain emails that both (a) lack relevance to knowledge or willful blindness, because they did not

 inform the decision not to accept Rightscorp’s notices; and (b) lack relevance to specific instances

 of relevant infringement, because they do not concern any BMG work at issue. Cox also asks the



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 Court to exclude certain communications whose negligible probative value is substantially out-

 weighed by the danger of prejudice to Cox.

 II.    ARGUMENT

        A.      Internal Cox emails are irrelevant to knowledge and willful blindness because
                they do not concern any BMG works at issue

        As the Fourth Circuit’s decision makes clear, to hold Cox liable for contributory infringe-

 ment of its copyrights, BMG must show that Cox had either actual knowledge of, or willfully

 blinded itself to, “specific instances of infringement” of BMG’s works. 881 F.3d at 311 (BMG

 must show “that Cox knew of specific instances of infringement” of the BMG works at issue, “or

 was willfully blind to such instances”); id. at 312 (showing willful blindness requires proof “that

 Cox consciously avoided learning about specific instances of infringement”).

        None of the Cox emails or communications that BMG introduced during the first trial are

 relevant to this inquiry, because none of them directly or indirectly concern any of BMG’s works.

 Because Cox decided to blacklist (and later block) Rightscorp’s notices nearly a year before

 Rightscorp sent a single notice concerning any BMG work at issue, there can be no dispute that

 Cox lacked actual knowledge of specific infringements of the BMG works at issue. Nor could Cox

 have been willfully blind to any “specific instances of infringement” of BMG’s works, for at least

 two reasons. First, as the Supreme Court has held, a “basic requirement[]” of willful blindness is

 that “the defendant must subjectively believe that there is a high probability that a fact exists.” 563

 U.S. at 769; see 881 F.3d at 309 (“the Global–Tech rule … is a sensible one in the copyright

 context.”). Simply, Cox lacked any basis to form the required subjective belief about infringement

 of any BMG work at any relevant time. Before February 5, 2012, no relevant infringement had yet

 occurred. And Cox could not have formed a subjective belief about any work that was the subject




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 of a notice from Rightscorp, since Cox blacklisted Rightscorp’s notices after March 9, 2011, and

 blocked them entirely after November 1, 2011.

            BMG has no evidence, cannot prove, and in any event lacks standing to claim, that any

 third party works were infringed. Indeed—despite ample opportunity to seek such information in

 discovery—BMG made no attempt to obtain evidence about actual infringement of any copy-

 righted works by any subscribers. See ECF 794 (“Somewhat curiously, BMG did not attempt to

 gather … evidence [about alleged infringements of its own works] from the list of Cox subscribers

 BMG received during discovery.”) Accordingly, BMG could not show that Cox had knowledge

 of, or was willfully blind to, any specific instances of infringement—let along with respect to

 works actually at issue here. And even if BMG could show that Cox willfully blinded itself to

 knowledge that some subscribers were using Cox’s services to infringe some copyrights—which

 BMG cannot show—that would be insufficient to show that Cox willfully blinded itself to

 knowledge concerning any relevant works at issue here. Such a showing would merely go to will-

 ful blindness to infringement in general, and not the knowledge of “specific instances of infringe-

 ment” that the Fourth Circuit requires. 881 F.3d at 312.

            Accordingly, Cox respectfully asks the Court to preclude BMG’s use of internal Cox com-

 munications whose purported relevance is to Cox’s knowledge or willful blindness, but which do

 not concern any of BMG’s works at issue here. Specifically, Cox asks the Court to preclude the

 use at re-trial of the following emails and Cox internal communications (which are summarized at

 Attachments A and B hereto 1):

            PX1340; PX1354; PX1358; PX1378; PX1381; PX1382; PX1388; PX1389; PX1391;

 PX1392; PX1427; PX1446; PX1453; PX1984; PX2029; PX2036; PX2060; PX2068; PX2589.



 1
     Attachment A organizes the referenced exhibits by date; Attachment B organizes them by exhibit number at trial.

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        B.      At a minimum, internal Cox emails are irrelevant to knowledge and willful
                blindness unless they were sent to, or received by, the Cox employee on whose
                authority Rightscorp’s notices were refused, blacklisted or blocked.

        Cox decided to blacklist (and later block) Rightscorp’s notices nearly a year before

 Rightscorp sent a single notice concerning any BMG work at issue. Accordingly, there can be no

 question that Cox did not obtain actual knowledge of specific infringements of the BMG works at

 issue, and BMG’s theory of contributory infringement relies on willful blindness.

        Even then, moreover, internal Cox emails are relevant to willful blindness only to the extent

 that they were relevant to specific instances of infringement involving BMG works, and only to

 the extent that they informed the decision, by a Cox employee with decision-making authority, to

 blacklist or block Rightscorp’s notices or other relevant notices. Because the emails cannot satisfy

 that standard, the Court should preclude use of such emails at trial.

        As noted above, to hold Cox liable for contributory infringement under a willful blindness

 theory, BMG must show “that Cox consciously avoided learning about specific instances of in-

 fringement.” 881 F.3d at 312. To do so, BMG must show both (1) that Cox “subjectively believe[d]

 that there [wa]s a high probability that [relevant specific acts of infringement]” were occurring,

 and (2) that Cox “[took] deliberate actions to avoid learning of that fact.” Global-Tech Appliances,

 Inc. v. SEB S.A., 563 U.S. 754, 769 (2011); BMG, 881 F.3d at 309 (“the Global-Tech rule devel-

 oped in the patent law context, which held that contributory liability can be based on willful blind-

 ness but not on recklessness or negligence, is a sensible one in the copyright context”). Both sub-

 jective belief and deliberate avoidance are required: one without the other is insufficient. Id. at

 308-09 (Global-Tech “‘requires proof the defendant knew the acts were infringing’” (citing

 Global-Tech, 563 U.S. at 769-71). And, because avoidance of “that fact” must be “deliberate,” the

 belief must be held, and actions toward avoidance taken, by the same decision-maker at Cox



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 (which, as a corporation, can act only through its agents, officers, and employees, see, e.g., Buffalo

 Wings Factory, Inc. v. Mohd, 622 F. Supp. 2d 325, 335 (E.D. Va. 2007)). 2

         The decision to block Rightscorp was not made by “Cox” in the abstract: it was, and could

 only be, made by an employee of Cox who possessed and exercised the requisite authority. Here,

 it was Cox’s Privacy Counsel who had and exercised such authority. After Rightscorp sent its first

 notice to Cox on March 9, 2011, Cox—primarily through its in-house Privacy Counsel—engaged

 Rightscorp extensively. At the same time, Cox’s in-house counsel and various Cox employees

 engaged in internal discussions concerning how Cox should handle the notices. Those internal

 discussions are relevant here only to the extent that they informed the initial decision of Cox’s

 Privacy Counsel that Cox would not process the notices, and later decision to blacklist

 Rightscorp’s notices. Again, when Rightscorp suddenly and drastically increased its volume of

 notices roughly eight months later, it was Cox’s Privacy Counsel who, after some additional inter-

 nal discussions with other Cox personnel, authorized blocking Rightscorp’s notices at the server

 level. Those internal discussions are likewise relevant insofar as they informed his decision-mak-

 ing concerning Rightscorp.

         Opinions and beliefs expressed by Cox employees who were outside the chain of decision-

 making, lacked relevant authority, and did not make the decision as to how to handle Rightscorp’s

 notices, however, are irrelevant to willful blindness and knowledge in both the practical and the

 legal senses, unless it can be shown that their opinions and beliefs somehow informed the decision

 by Cox’s Privacy Counsel that those notices should not be processed. See, e.g., Worldwide Network



 2
   This does not mean that the opinions or knowledge of each and every subordinate employee may be
 automatically imputed to the corporation as a whole. See, e.g., Tysinger Motor Co. v. United States, 428
 F. Supp. 2d 480, 485 (E.D. Va. 2006) (Kelley, J.) (noting that, “[w]hile a corporation can only act through
 its employees and agents, such imputation is not automatic,” and ordering a refund of a penalty assessed
 against a corporation whose employee had neglected to pay certain taxes on behalf of the company).

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 Servs., LLC v. Dyncorp Int'l, LLC, 365 F. App’x 432, 455–56 (4th Cir. 2010) (holding, in context

 of employment discrimination claim, that “the focus must be on the motivations of those agents of

 the corporation who actually made the … decision on behalf of the corporation”) (emphasis in

 original); Tysinger Motor, 428 F. Supp. at 485 (“While a corporation can only act through its

 employees and agents, such imputation is not automatic.”).

        Accordingly, the Court should preclude BMG from introducing internal Cox emails that

 discuss Cox’s termination policies or actions against alleged infringers, but which were neither

 sent to nor received by Cox’s Privacy Counsel, who both had the authority to make, and actually

 made, the decision to block Rightscorp’s notices. Absent a showing of some nexus to the decision

 to block Rightscorp’s notices, the Court should preclude BMG from introducing at least the fol-

 lowing irrelevant emails at trial: PX1340; PX1354; PX1358; PX1378; PX1381; PX1382; PX1388;

 PX1389; PX1391; PX1392; PX1427; PX1446; PX1453; PX1984; PX2029; PX2036; PX2060;

 PX2068; PX2589.

        C.      At a minimum, Cox emails concerning third-party infringement allegations
                from before February 5, 2012, are not relevant to show willful blindness or
                willfulness.

        Alternatively, if the Court were to conclude that some internal Cox emails may be relevant

 to willful blindness or willfulness even though they do not address the decisions to blacklist or

 block Rightscorp’s notices, it should limit such emails to those sent between February 5, 2012

 (when Rightscorp sent the first notices for BMG’s works at issue) and November 26, 2014 (when

 BMG filed suit). This is the period during which all relevant alleged infringements occurred, and

 the only period during which Cox could, even in theory, have willfully blinded itself to relevant

 specific instances of relevant infringement. Indeed, emails that predate the direct infringements of

 BMG’s works cannot meet the Global-Tech standard, which requires both that Cox “subjectively



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 believe[d] that there [wa]s a high probability that a fact [here, relevant specific acts of infringe-

 ment] exist[ed],” and that Cox “[took] deliberate actions to avoid learning of that fact.” 563 U.S.

 at 769; 881 F.3d at 311.

        For the same reason, the Fourth Circuit’s decision confirms that emails from outside this

 period can have no relevance to willfulness. As BMG itself argued on appeal, “the test [of willful-

 ness]” for contributory infringement is whether Cox was aware of relevant acts of direct infringe-

 ment by its users (BMG Br. 59 (4th Cir. Dkt. No. 44))—a test that plainly cannot be met by com-

 munications pre-dating the alleged direct infringement at issue. That is, even if Cox’s conduct

 before the relevant period were somehow relevant to willfulness—and it is not—the Court should

 not permit it for at least three independent reasons.

        First, evidence of such conduct would be unnecessarily duplicative: BMG conducted and

 obtained ample discovery concerning the relevant time period. 3

        Second, permitting BMG to introduce this evidence would create a substantial danger of

 confusing the issues, misleading the jury, undue delay, wasting time, and needlessly presenting

 cumulative evidence. Fed. R. Evid. 403. BMG has not pleaded, and has made no effort to prove,

 any direct infringement of third-party works (where it would lack standing), or infringement of

 any works outside the relevant time period. BMG should not be permitted to argue, let alone as-

 sume, that (a) there was direct infringement of third-party works unrelated to any claims at issue

 here; (b) Cox was contributorily liable for that unrelated direct infringement; (c) Cox’s contribu-

 tory infringement was willful; or (d) Cox’s willfulness there is relevant to show willfulness here.




 3
   For the same reason, even if the Court were to conclude that evidence concerning third-party works is
 relevant to some issues here, BMG would not be prejudiced if evidence from before this relevant time
 period is excluded—it has ample evidence from February 2012 onward.

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        Third, arguments based on evidence from outside the relevant period, for works not at

 issue, amounts to the type of improper “propensity” character evidence that the Federal Rules of

 Evidence prohibit. Fed. R. Evid. 404(b)(1) (“Evidence of a … wrong, or other act is not admissible

 to prove a person’s character in order to show that on a particular occasion the person acted in

 accordance with the character”); and see, e.g., Byrne v. Gainey Transp. Servs., Inc., No. 04-2220-

 KHV, 2005 WL 1799213, at *1 (D. Kan. July 11, 2005) (“Rule 404(b) does not allow evidence of

 prior acts to prove [plaintiff’s] character and to insinuate that she would have acted in conformity

 with that character.”) (emphasis added); Ritch v. A M Gen. Corp., No. Civ. 93-451-SD, 1997 WL

 834214, at *3 (D.N.H. Nov. 17, 1997) (same). Even evidence purportedly offered to show “an

 organization’s routine practice”—for which purpose BMG’s handful of cherry-picked emails are

 plainly insufficient—must comply with Federal Rule of Evidence 406. Before BMG may be per-

 mitted to introduce such evidence, Cox must be permitted to show countervailing instances in

 which the conduct of Cox employees showed that Cox was not willful. Wilson v. Volkswagen of

 Am., Inc., 561 F.2d 494, 512 (4th Cir. 1977) (holding that under Rule 406, “[n]ecessarily… regu-

 larity of conduct such as that charged against defendants requires some comparison of the number

 of instances in which any such conduct occurs with the number in which no such conduct took

 place.”); see, e.g., Loussier v. Universal Music Grp., Inc., No. 02 CV 2447 (KMW), 2005 WL

 5644420, at *3 (S.D.N.Y. Aug. 30, 2005) (“the regularity of a party’s conduct is tested by the ratio

 of reaction to situations, which requires some comparison of the number of instances in which any

 such conduct occurs with the number in which no such conduct took place”) (quotation marks and

 citation omitted). This inquiry would require a time-wasting mini-trial for the sake of evidence

 that, as discussed above, would be at best cumulative, misleading, and confusing to the jury.




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         D.      Certain emails from mid-level Cox employees expressing opinions about the
                 Digital Millennium Copyright Act and Rightscorp lack relevance, are highly
                 prejudicial to Cox, and should be excluded.

         In a handful of instances, mid-level Cox employees Jason Zabek and Joe Sikes used coarse,

  intemperate, or sensationalized language to express opinions about the Digital Millennium Copy-

  right Act (DMCA), Rightscorp (which sometimes styled itself “Digital Rights Corp.”), or the pos-

  sibility of litigation over Rightscorp’s notices. While BMG has repeatedly deployed such emails

  for their shock value, they have little or no evidentiary value to the issues on remand, and at a

  minimum any probative value they may have is far outweighed by the near-certainty of prejudice

  to Cox. Those emails should thus be excluded.

         Statements by Cox employees expressing their opinions about the DMCA, their frustration

  at Rightscorp’s tactics, or their speculation about possible litigation over Rightscorp’s notices, are

  irrelevant to show knowledge, willful blindness or willfulness, and have no relevance to any spe-

  cific instances of infringement on Cox’s network. Contrary to BMG’s apparent position, these

  statements about the DMCA do not express an attitude toward copyright infringement: they do not

  use “DMCA” as a shorthand for copyright infringement, but to refer to the Act itself. For example,

  when Cox employee Jason Zabek wrote “F the DMCA!!!” in early 2014 to a colleague at another

  ISP, he was plainly expressing frustration with the Act itself and complying with it. But frustration

  with the DMCA does not amount to an endorsement of infringement or an intent to be willfully

  blind, particularly since compliance with the DMCA is optional. Furthermore, the DMCA itself is

  not at issue on remand.

         BMG’s fondness for these emails stems not from their evidentiary value, but from the prej-

  udicial effect of their intemperate language on a jury. That prejudicial effect substantially out-

  weighs any probative value of these irrelevant expressions of opinion from mid-level Cox employ-

  ees, and the Court should bar their use at trial. In particular, and without limitation, the Court
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  should bar the following documents (further described at Attachment A hereto) that were listed as

  exhibits at the first trial: PX1340; PX1392; PX1427.

  III.   CONCLUSION

         For the foregoing reasons, Cox respectfully asks that the Court bar BMG from introducing

  at least the following documents, or testimony concerning them, or in the alternative limit their

  use to exclude prejudicial and irrelevant language as discussed above: PX1340; PX1354; PX1358;

  PX1378; PX1381; PX1382; PX1388; PX1389; PX1391; PX1392; PX1427; PX1446; PX1453;

  PX1984; PX2029; PX2036; PX2060; PX2068; PX2589.

  Dated: July 20, 2018                                 Respectfully submitted,

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                                           ATTACHMENT A
                               Trial Exhibits at Issue, Organized by Date
    Tr. Ex.                                   Description                                      Date
              1/17/2010 Email from J. Zabek to A. Dameri et al. RE Account [redacted]
   PX1381     - Zabek Exh. 14                                                                 1/17/2010
              4/10/2010 Email from R. Vredenburg to M. Moy FW: DMCA Termina-
   PX1378     tions - Zabek Exh. 11                                                           4/10/2010
              6/22/2010 Email from C. Fraysier to J. Sikes et al. RE: Termination clarifi-
   PX1382     cation - Zabek Exh. 15                                                          6/22/2010
              8/11/2010 Email from J. Zabek to HRD-TOC et al. re: Customers Termi-
   PX2068     nated for DMCA                                                                  8/11/2010
              3/5/2011 email from J. Zabek to CCI-Hampton Roads and CCI-Abuse Cor-
   PX1984     porate re: CATS 7442149                                                          3/5/2011
              3/11/2011 Email from J. Zabek to J. Barnhardt et al. RE: CATS ticket info
   PX1391     on cust acct - Zabek Exh. 24                                                    3/11/2011
              3/24/2011 Email on behalf of J. Zabek to ipe@policycircle.com re: [ipe]
   PX1392     digitalrightscorp.com - Zabek Exh. 25                                           3/24/2011
              4/20/2011 Email from J. Zabek to J. Sikes et al. re: 7803013 - Zabek Exh.
   PX1388     21                                                                              4/20/2011
              8/22/2011 email from J. Sikes to J. Zabek, B. Beck, and CCI-Abuse Corpo-
   PX2029     rate re: CATS Suspend vs Terminate                                              8/22/2011
              1/27/2012 Conversation with joesikesati at Fri 27 Jan 2012 05:54:13 PM
   PX1358     EST on G Chao - Sikes Exh. 23                                                   1/27/2012
              2/15/2012 Email from A. Dameri to CCI - Abuse Corporate and D. Sim-
   PX2060     mons re: DMCA Clarification                                                     2/15/2012
              12/12/2012 Email from J. Sikes to A. Dameri RE: Termination review
   PX1389     CATS ticket 12056367 - Zabek Exh. 22 and Dameri Exh. 24                        12/12/2012
   PX1340     2/19/2014 Email from M. Carothers to J. Zabek et al. RE: DMCA com-
   PX1427     plaint spike? - Carothers Exh. 22                                               2/19/2014
   PX1354     3/27/2014 Email from R. Vredenburg to J. Sikes et al. RE: Request for
   PX1446     Termination – CATS Ticket 18640545 - Sikes Exh. 19                              3/27/2014
              5/27/2014 Email from J. Sikes to CCI-Hampton Roads and CCI-Abuse
   PX2036     Corporate re: Termination Review - 19991279                                     5/27/2014
              6/6/2014 Email from J. Sikes to HRD-TOC (CCI-Hampton Roads) et al. RE:
   PX2589     Termination Review - 19751123                                                    6/6/2014
              6/12/2014 Email from A. Thompson to HRD-TOC (CCI Hampton Roads)
   PX1453     RE: Termination review - 19029047 - Vredenburg Exh. 10                          6/12/2014




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                                           ATTACHMENT B
                        Trial Exhibits at Issue, Organized by Trial Exhibit No.
    Tr. Ex.                                   Description                                      Date
   PX1340     2/19/2014 Email from M. Carothers to J. Zabek et al. RE: DMCA com-
   (PX1427)   plaint spike? - Carothers Exh. 22                                               2/19/2014
   PX1354     3/27/2014 Email from R. Vredenburg to J. Sikes et al. RE: Request for
   (PX1446)   Termination – CATS Ticket 18640545 - Sikes Exh. 19                              3/27/2014
              1/27/2012 Conversation with joesikesati at Fri 27 Jan 2012 05:54:13 PM
   PX1358     EST on G Chao - Sikes Exh. 23                                                   1/27/2012
              4/10/2010 Email from R. Vredenburg to M. Moy FW: DMCA Termina-
   PX1378     tions - Zabek Exh. 11                                                           4/10/2010
              1/17/2010 Email from J. Zabek to A. Dameri et al. RE Account [redacted]
   PX1381     - Zabek Exh. 14                                                                 1/17/2010
              6/22/2010 Email from C. Fraysier to J. Sikes et al. RE: Termination clarifi-
   PX1382     cation - Zabek Exh. 15                                                          6/22/2010
              4/20/2011 Email from J. Zabek to J. Sikes et al. re: 7803013 - Zabek Exh.
   PX1388     21                                                                              4/20/2011
              12/12/2012 Email from J. Sikes to A. Dameri RE: Termination review
   PX1389     CATS ticket 12056367 - Zabek Exh. 22 and Dameri Exh. 24                        12/12/2012
              3/11/2011 Email from J. Zabek to J. Barnhardt et al. RE: CATS ticket info
   PX1391     on cust acct - Zabek Exh. 24                                                    3/11/2011
              3/24/2011 Email on behalf of J. Zabek to ipe@policycircle.com re: [ipe]
   PX1392     digitalrightscorp.com - Zabek Exh. 25                                           3/24/2011
   PX1427     2/19/2014 Email from M. Carothers to J. Zabek et al. RE: DMCA com-
   (PX1340)   plaint spike? - Carothers Exh. 22                                               2/19/2014
   PX1446     3/27/2014 Email from R. Vredenburg to J. Sikes et al. RE: Request for
   (PX1354)   Termination – CATS Ticket 18640545 - Sikes Exh. 19                              3/27/2014
              6/12/2014 Email from A. Thompson to HRD-TOC (CCI Hampton Roads)
   PX1453     RE: Termination review - 19029047 - Vredenburg Exh. 10                          6/12/2014
              3/5/2011 email from J. Zabek to CCI-Hampton Roads and CCI-Abuse Cor-
   PX1984     porate re: CATS 7442149                                                          3/5/2011
              8/22/2011 email from J. Sikes to J. Zabek, B. Beck, and CCI-Abuse Corpo-
   PX2029     rate re: CATS Suspend vs Terminate                                              8/22/2011
              5/27/2014 Email from J. Sikes to CCI-Hampton Roads and CCI-Abuse Cor-
   PX2036     porate re: Termination Review - 19991279                                        5/27/2014
              2/15/2012 Email from A. Dameri to CCI - Abuse Corporate and D. Sim-
   PX2060     mons re: DMCA Clarification                                                     2/15/2012
              8/11/2010 Email from J. Zabek to HRD-TOC et al. re: Customers Termi-
   PX2068     nated for DMCA                                                                  8/11/2010
              6/6/2014 Email from J. Sikes to HRD-TOC (CCI-Hampton Roads) et al. RE:
   PX2589     Termination Review - 19751123                                                    6/6/2014




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                                  CERTIFICATE OF SERVICE

         I certify that on July 20, 2018, a copy of the foregoing Memorandum of Law in Sup-

  port of Defendants’ Motion in Limine to Preclude Evidence and Testimony as to Certain

  Internal Cox Emails and Communications Concerning Cox’s Termination Policies and

  Treatment of Alleged Infringers was filed electronically with the Clerk of Court using the ECF

  system which will send notifications to ECF participants.



                                                       /s/ Thomas M. Buchanan
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                                                       CoxCom, LLC




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